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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                               UNITED STATES DISTRICT COURT                         November 15, 2021
                                SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                     MCALLEN DIVISION

                                                 §
    UNITED STATES OF AMERICA,                    §
                                                 §
                                                 §
           Plaintiff,                            §
                                                 §
VS.
                                                 §           CIVIL ACTION NO. 7:20-cv-00156
                                                 §
    7.089 ACRES OF LAND, more or                 §
    less, in STARR COUNTY, TEXAS; et             §
    al.,                                         §
                                                 §
           Defendants.                           §

                                             ORDER

           The Court now considers the status conference set in this case for November 16, 2021.

On October 12, Plaintiff United States of America filed an “Opposed Motion to Substitute Party

Defendant.”1 In light of the pending motion, the Court holds that the status conference would be

premature at this time. Thus, the Court CONTINUES the status conference previously

scheduled for November 16, 2021 to December 14, 2021 at 9 a.m.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 15th day of November, 2021.


                                                  ___________________________________
                                                  Micaela Alvarez
                                                  United States District Judge




1   Dkt. No. 105.

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